 Case 18-30450     Doc 16    Filed 08/27/18 Entered 08/27/18 13:27:48     Desc Main
                               Document     Page 1 of 1


                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
                              WESTERN DIVISION

In re:
      Maureen V. O’Malley                                Chapter 7

     Debtor                                              Case No. 18-30450-EDK


    ORDER ON TRUSTEE’S MOTION TO EMPLOY BK GLOBAL REAL ESTATE
     SERVICES AND RIGHT KEY REALTY, INC. AS REAL ESTATE BROKERS

Upon consideration of the Chapter 7 Trustee's Motion To Employ BK Global Real
Estate Services and Right Key Realty, Inc. As Real Estate Brokers, no adverse
interests having been represented and sufficient reason appearing to me therefor, it is
hereby

ORDERED that the Trustee's Motion To Employ BK Global Real Estate Services and
Right Key Realty, Inc. As Brokers is allowed. All compensation and expenses will be
subject to Court approval.




                                 _____________________________________
                                 Honorable Elizabeth D. Katz  Dated
                                 U.S. Bankruptcy Judge
